              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                 Civil Action No. 1:20-cv-00954-WO-JLW

FARHAD AZIMA,

                   Plaintiff,
                                          DEFENDANTS’ MOTION FOR
v.
                                            PRE-TRIAL HEARING
NICHOLAS DEL ROSSO and
                                                  Fed. R. Civ. P. 16
VITAL MANAGEMENT SERVICES,
                                                     LR 40.1(c)
INC.,

                   Defendants.


      Defendants Nicholas Del Rosso and Vital Management Services, Inc.

(collectively, “Defendants”), pursuant to Fed. R. Civ. P. 16 and Local Rule

40.1(c), hereby move the Court for a pretrial hearing to address matters

relating to final trial preparation. In support of this Motion, Defendants state

the following:

      1.    Trial is set in this matter for September 23, 2024 [D.E. 305].

      2.    The Court has set a hearing for pending motions for August 15,

2024, at 2:00 p.m. [D.E. 388].1

      3.    Defendants filed a Motion for Summary Judgment on July 15,

2024 [D.E. 379, 380]. Plaintiff’s Response is due August 14, 2024. Defendants’

Reply is due fourteen (14) days after service of the Response. Although


1 Defendants would appreciate clarification from the Court as to what motions

the Court intends to hear at the August 15, 2024 hearing so that the parties
can best prepare.



     Case 1:20-cv-00954-WO-JLW Document 389 Filed 07/23/24 Page 1 of 4
Defendants believe this motion is dispositive of all issues in the case,

Defendants are mindful of the currently scheduled trial date and dates set

pursuant to local rule.

      4.    For instance, the parties pretrial brief and proposed jury

instructions pursuant to Local Rule 40.1(c) are required to be filed no later

than September 3, 2024.

      5.    A pretrial hearing to discuss and establish pre-trial deadlines for

issues such as motions in limine, voir dire, opening statement, designations,

and objections to deposition testimony, the verdict form, and other pretrial

matters will clarify and streamline the issues to be addressed before trial,

thereby reducing the likelihood of delays and ensuring a more efficient judicial

process.

      6.    Defendants request that the pretrial hearing be held as soon as

practicable for the Court, or at the conclusion of the hearing already scheduled

for August 15, 2024.

      7.    Defendants’ counsel conferred with Plaintiff’s counsel regarding

the relief sought in this motion. Plaintiff does not oppose a pre-trial hearing

but believes that resolution of several unresolved discovery disputes is

necessary before that hearing.

      WHEREFORE, Defendants respectfully request that the Court set a

pretrial hearing.


                                       2

     Case 1:20-cv-00954-WO-JLW Document 389 Filed 07/23/24 Page 2 of 4
This the 23rd day of July, 2024.


                         NELSON MULLINS RILEY &
                         SCARBOROUGH LLP

                         By: /s/ Brandon S. Neuman
                             Brandon S. Neuman, NCSB# 33590
                             Jeffrey M. Kelly, NCSB# 47269
                             Samuel Rosenthal (special appearance)
                             Justin Kaplan (special appearance)
                             George Mahfood (special appearance)
                             301 Hillsborough Street, Suite 1400
                             Raleigh, North Carolina 27603
                             Telephone: (919) 329-3800
                             Facsimile: (919) 329-3799
                              brandon.neuman@nelsonmullins.com
                              jeff.kelly@nelsonmullins.com
                              sam.rosenthal@nelsonmullins.com
                              justin.kaplan@nelsonmullins.com
                              George.mahfood@nelsonmullins.com


                             Counsel for Defendants




                                   3

Case 1:20-cv-00954-WO-JLW Document 389 Filed 07/23/24 Page 3 of 4
                        CERTIFICATE OF SERVICE

      I hereby certify that on this 23rd day of July, 2024, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

Jonathan D. Townsend                        Ian A. Herbert
Christopher W. Jones                        Kirby D. Behre
Ripley Rand                                 Lauren E. Briggerman
Womble Bond Dickinson (US) LLP              Cody Marden
555 Fayetteville Street, Suite 1100         Calvin Lee
Raleigh, NC 27601                           Miller & Chevalier Chartered
jonathon.townsend@wbd-us.com                900 16th Street, N.W.
chris.jones@wbd-us.com                      Washington, D.C. 20006
ripley.rand@wbd-us.com                      iherbert@milchev.com
                                            kbehre@milchev.com
                                            lbriggerman@milchev.com
                                            cmarden@milchev.com
                                            clee@milchev.com

                                 NELSON MULLINS RILEY &
                                 SCARBOROUGH LLP

                                 By: /s/ Brandon S. Neuman
                                     Brandon S. Neuman, NCSB# 33590
                                     Jeffrey M. Kelly, NCSB# 47269
                                     Samuel Rosenthal (special appearance)
                                     Justin Kaplan (special appearance)
                                     George Mahfood (special appearance)
                                     301 Hillsborough Street, Suite 1400
                                     Raleigh, North Carolina 27603
                                     Telephone: (919) 329-3800
                                     Facsimile: (919) 329-3799
                                     brandon.neuman@nelsonmullins.com
                                     jeff.kelly@nelsonmullins.com
                                     sam.rosenthal@nelsonmullins.com
                                     justin.kaplan@nelsonmullins.com
                                     George.mahfood@nelsonmullins.com
                                     Counsel for Defendants

                                        4

     Case 1:20-cv-00954-WO-JLW Document 389 Filed 07/23/24 Page 4 of 4
